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 8                               UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION

11    FEDERAL TRADE COMMISSION,                  Case No. 3:23-cv-02880-JSC

12            Plaintiff,                         [PROPOSED] ORDER GRANTING
                                                 ADMINISTRATIVE MOTION TO SEAL
13    v.                                         PORTIONS OF DEFENDANTS’
14                                               PROPOSED POST-TRIAL FINDINGS OF
      MICROSOFT CORPORATION and                  FACT AND CONCLUSIONS OF LAW
15    ACTIVISION BLIZZARD, INC.,

16            Defendants.                        Dept.:    Courtroom 8—19th Floor
                                                 Judge:    Honorable Jacqueline S. Corley
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     [PROPOSED] ORDER RE                                           CASE NO. 3:23-CV-02880-JSC
     ADMIN . MOTION TO SEAL
         Case 3:23-cv-02880-JSC Document 311-3 Filed 07/13/23 Page 2 of 5




 1          Having considered Defendant Microsoft Corporation and Defendant Activision Blizzard Inc.’s

 2   (collectively, “Defendants”) Administrative Motion to Seal Portions of Defendants’ Proposed Post-Trial

 3   Findings of Fact and Conclusions of Law and the Declaration of Alysha Bohanon in support thereof, the

 4   Court hereby orders that the Motion is GRANTED as follows:

 5    Document               Portions to be Filed Under Seal                             Ruling

 6    Introduction           Page 1, portions of lines 15-16
      Findings of Fact       Page 6, paragraph 10, portions of lines 2-4
 7
      Findings of Fact       Page 13, paragraph 39, entirety of graphic at lines 11-20
 8
      Findings of Fact       Page 15, paragraph 46, portions of lines 6-11
 9    Findings of Fact       Page 25, paragraph 81, portions of line 2
10    Findings of Fact       Page 25, paragraph 81, entirety of graphic at lines 3-11
11    Findings of Fact       Page 25, paragraph 82, portions of lines 16 and 17

12    Findings of Fact       Page 26, paragraph 84, portions of lines 5-11
      Findings of Fact       Page 27, paragraph 87, portions of lines 11-14
13
      Findings of Fact       Page 27, paragraph 87, entirety of graphic at lines 15-23
14
      Findings of Fact       Page 28, paragraph 88, portions of lines 4-5
15    Findings of Fact       Page 28, paragraph 91, portions of lines 25-26
16    Findings of Fact       Page 33, paragraph 104, portion of line 2
17    Findings of Fact       Page 37, paragraph 119, portions of lines 13-16

18    Findings of Fact       Page 37, paragraph 120, portion of line 18
      Findings of Fact       Page 38, paragraph 125, portions of line 25
19
      Findings of Fact       Page 39, paragraph 127, portions of lines 11-12
20
      Findings of Fact       Page 41, paragraph 136, portions of lines 21-24
21    Findings of Fact       Page 42, paragraph 139, portions of lines 11-17
22    Findings of Fact       Page 42, paragraph 140, portions of lines 18-24
23    Findings of Fact       Page 44, paragraph 144, portions of lines 9-10
      Findings of Fact       Page 45, paragraph 148, portions of lines 14-16
24
      Findings of Fact       Page 46, paragraph 152, portions of lines 5-6
25
      Findings of Fact       Page 46, paragraph 153, portions of lines 13-19
26
      Findings of Fact       Page 46, paragraph 154, portions of lines 25-26
27    Findings of Fact       Page 51, paragraph 166, portions of lines 7-24
28    Findings of Fact       Page 52, paragraph 169, portions of lines 22-26
     [PROPOSED] ORDER RE                                                       CASE NO. 3:23-CV-02880-JSC
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     ADMIN . MOTION TO SEAL
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 1    Document             Portions to be Filed Under Seal                              Ruling

 2    Findings of Fact     Page 53, paragraph 169, portions of lines 2-4
      Findings of Fact     Page 56, paragraph 180, portions of lines 7-11
 3
      Findings of Fact     Page 63, paragraph 208, portions of lines 13-14
 4
      Findings of Fact     Page 63, paragraph 208, entirety of graphic at lines 14-25
 5
                           Page 63, paragraph 209, portions of lines 26-27
      Findings of Fact
 6                         Page 64, paragraph 209, portions of lines 2-4
 7    Findings of Fact     Page 64, paragraph 210, portion of line 8
 8    Findings of Fact     Page 64, paragraph 211, portions of line 15
 9
      Findings of Fact     Page 67, paragraph 224, portions of lines 23-24
10
      Findings of Fact     Page 69, paragraph 230, portions of lines 3-8
11
      Findings of Fact     Page 69, paragraph 232, portions of lines 21-27
12
      Findings of Fact     Page 70, paragraph 233, portions of lines 1-7
13
14    Findings of Fact     Page 70, paragraph 234, portions of lines 11-12

15    Findings of Fact     Page 70, paragraph 238, portions of lines 25-27

16    Findings of Fact     Page 72, paragraph 243, portions of lines 5-8

17    Findings of Fact     Page 72, paragraph 244, portions of lines 11-12
18    Conclusions of Law   Page 85, paragraph 25, portions of lines 23-27
19    Conclusions of Law   Page 86, paragraph 28, portions of lines 20-22
20
      Conclusions of Law   Page 86, footnote 15, first sentence of footnote
21
      Conclusions of Law   Page 87, paragraph 29, entirety of graphic at lines 6-13
22
      Conclusions of Law   Page 89, paragraph 33, portions of lines 2-7
23
      Conclusions of Law   Page 92, portions of lines 2-3
24
      Conclusions of Law   Page 94, paragraph 49, entirety of graphics at lines 13-19
25
26    Conclusions of Law   Page 96, paragraph 53, portion of line 4

27    Conclusions of Law   Page 99, paragraph 64, portions of lines 25-27

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     [PROPOSED] ORDER RE                                                      CASE NO. 3:23-CV-02880-JSC
     ADMIN . MOTION TO SEAL                         -3-
         Case 3:23-cv-02880-JSC Document 311-3 Filed 07/13/23 Page 4 of 5




 1    Document             Portions to be Filed Under Seal                             Ruling

 2    Conclusions of Law   Page 102, footnote 21, portion of lines 25-26

 3    Conclusions of Law   Page 106, paragraph 80, portions of lines 18-21
 4    Conclusions of Law   Page 107, paragraph 82, portion of line 22
 5    Conclusions of Law   Page 108, paragraph 83, portions of lines 6-9
 6
      Conclusions of Law   Page 108, paragraph 84, portions of lines 11-13
 7
      Conclusions of Law   Page 108, paragraph 85, portions of lines 23-25
 8
      Conclusions of Law   Page 113, paragraph 96, portions of lines 1-3
 9
      Conclusions of Law   Page 113, entirety of footnote 23, lines 20-22
10
      Conclusions of Law   Page 116, paragraph 105, portions of lines 3-6
11
12    Conclusions of Law   Page 116, paragraph 106, portions of lines 10-13

13    Conclusions of Law   Page 116, footnote 26, portions of lines 21-25

14    Conclusions of Law   Page 116, footnote 27, portions of lines 25-27
15    Conclusions of Law   Page 117, paragraph 109, portions of lines 2-7
16    Conclusions of Law   Page 117, paragraph 110, portions of lines 14-19
17    Conclusions of Law   Page 117, footnote 28, portions of lines 26-27
18
      Conclusions of Law   Page 118, paragraph 113, portions of lines 14-16
19
      Conclusions of Law   Page 118, paragraph 114, portions of lines 17-23
20
                           Page 118, paragraph 115, portions of lines 24-26
21    Conclusions of Law
                           Page 119, paragraph 115, portions of lines 1-2
22
      Conclusions of Law   Page 119, paragraph 116, portions of lines 4-7
23
      Conclusions of Law   Page 119, paragraph 117, portions of lines 8-9
24
      Conclusions of Law   Page 122, paragraph 125, portions of line 8
25
26    Conclusions of Law   Page 129, paragraph 141, portions of lines 20-22

27    Conclusions of Law   Page 133, footnote 37, portions of line 26

28
     [PROPOSED] ORDER RE                                                      CASE NO. 3:23-CV-02880-JSC
     ADMIN . MOTION TO SEAL                        -4-
         Case 3:23-cv-02880-JSC Document 311-3 Filed 07/13/23 Page 5 of 5




 1    Document             Portions to be Filed Under Seal                           Ruling

 2    Conclusions of Law   Page 138, paragraph 162, portions of lines 2-3

 3    Conclusions of Law   Page 141, paragraph 172, portion of line 21
 4
 5   IT IS SO ORDERED.

 6
     DATED:                            , 2023
 7                                                            Honorable Jacqueline S. Corley
 8                                                             United States District Judge

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     [PROPOSED] ORDER RE                                                    CASE NO. 3:23-CV-02880-JSC
     ADMIN . MOTION TO SEAL                        -5-
